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               IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                        SOUTHERN DIVISION


PETER CABUSAO                                                          PLAINTIFF

v.                                                 Civil No.: 1:14cv74-HSO-RHW

ROYAL HOSPITALITY SERVICES, LLC                                      DEFENDANT

                             DEFAULT JUDGMENT

      In accordance with the Order entered herewith granting Plaintiff’s Motion for

Default Judgment [316],

      IT IS, THEREFORE, ORDERED AND ADJUDGED that, judgment is

rendered in favor of Plaintiff Peter Cabusao against Defendant Royal Hospitality

Services, LLC, pursuant to Federal Rule of Civil Procedure 55(b)(2).

      IT IS, FURTHER, ORDERED AND ADJUDGED that, Plaintiff Peter

Cabusao shall recover from Defendant Royal Hospitality Services, LLC, judgment in

the amount of $71,839.43, plus costs and post-judgment interest at the current

prescribed federal rate pursuant to 28 U.S.C. § 1961, from the date of entry of this

Default Judgment until paid in full.

      SO ORDERED AND ADJUDGED, this the 19th day of April, 2016.



                                       s/ Halil Suleyman Ozerden
                                       HALIL SULEYMAN OZERDEN
                                       UNITED STATES DISTRICT JUDGE
